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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                          Alexandria Division



     TecSec,Incorporated,

                             Plaintiff,
                                                                Civil Action No. l;10-cv-115
              V.                                                Hon. Liam G'Grady

     Adobe Inc.,et al..

                              Defendants.


                                     MEMORANDUM OPINION


           This matter comes before the Court on Defendant Adobe Inc.'s Motion for Judgment as a

  Matter of Law of No Willful Infringement(Dkt. 1340). An opposition brief was filed and the

  Court heard oral argument. The Court granted the Motion during trial for the reasons stated from

  the bench and for good cause shown, and issued an Order to that effect. This Memorandum

  Opinion follows to more fiilly explain the Court's reasoning for granting the Motion from the

  bench.


           Courts have the discretion to award up to treble damages in patent cases if the plaintiff
  can prove willful infringement by a preponderance ofthe evidence. See 35 U.S.C. § 284(stating
  that upon a finding of infringement,"the court may increase the damages up to three times");
  Halo Elecs., Inc. v. Pulse Elecs., Inc., 136 S.Ct. 1923, 1934(2016)(holding that a preponderance
  ofthe evidence standard governs the enhanced damages analysis). TecSec sought enhanced
  damages in this case based solely on Adobe's post-suit conduct.

           Before the Supreme Court's decision in Halo Electronics, enhanced damages could not
  be awarded solely based on post-suit conduct under In re Seagate Technology, LLC. 497 F.3d
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